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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  DANVILLE DIVISION

   UNITED STATES OF AMERICA                          )
                                                     )
                                                     )        Case No.: 4:18-cr-00011
   v.                                                )
                                                     )
                                                     )
   MARCUS JAY DAVIS,                                 )
                                                     )        By:   Michael F. Urbanski
            Defendant.                               )        Chief United States District Judge

                                      MEMORANDUM OPINION

           This matter comes before the court on defendant Marcus Jay Davis's motion for

    judgment of acquittal or in the alternative for a new trial. ECF No. 1164. The government has

   responded, opposing the motion. ECF No. 1187. 1 For the reasons stated herein, the court will

    DENY Davis's motion for judgment of acquittal or in the alternative for a new trial.

                                                         I.

            On November 12, 2019, following fifteen days of testimony, the jury in this case found

    Davis guilty of Counts One (RICO conspiracy), Eleven (possession/use of firearm during

   murder), Twelve (VICAR attempted murder), and Thirteen (possession/use of firearm during

    attempted murder) of the First Superseding Indictment. Davis then ftled the current motion

    on December 17, 2019, for judgment of acquittal. In his motion, Davis also seeks dismissal of

    Counts E leven and Thirteen because he claims the jury improperly based its verdict on the

    theory of liability established in Pinkerton v. United States, 328 U.S. 640 (1946), and because




    1The court dispensed with oral argument because the facts and legal contentions are adequately presented in
    the materials before this court and argument would not aid the decisional process.
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   there was insufficient evidence to meet the aiding and abetting standard under Rosemond v.

   United States, 572 U.S. 65 (2014). According to Davis, Pinkerton should be overruled. Further,

   Davis seeks a new trial as to Count Twelve at which the Pinkerton instruction would be

   eliminated. Finally, if the court does not dismiss Counts Eleven and Thirteen, Davis also seeks

   a new trial as to Counts Eleven and Thirteen, at which the Pinkerton instruction would be

   eliminated.

            The government argues that Davis has not asserted a viable Rule 29 or Rule 33 motion

   because the defendant has not argued the sufficiency of the evidence. The government also

   argues that the use of the Pinkerton instruction is valid under binding Fourth Circuit law.

            After careful review of the trial record and the pleadings, the court concludes that the

   Pinkerton instruction in this case did not constitute error, the government did not need to

   meet the heightened Rosemond standard, and Davis is not entitled to a new trial.

                                                   II.

            Rule 29 of the Federal Rules of Criminal Procedure states that, "[a]fter the government

   closes its evidence or after the close of all the evidence, the court on the defendant's motion

   must enter a judgment of acquittal of any offense for which the evidence is insufficient to

   sustain a conviction." Fed. R. Crim. P. 29(a). Rule 29 further provides that a court can reserve

   decision on a motion for acquittal until after the jury returns a verdict or is otherwise

   discharged. Fed. R. Crim. P . 29(b). Here, the court reserved decision on the Rule 29 motion

   made at the close of the government's case, and, accordingly, the court "must decide the

   motion on the basis of the evidence at the time the ruling was reserved." Fed. R. Crim. P.

   29(b).


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           "A judgment of acquittal based on the insufficiency of evidence is a ruling by the court

   that as a matter of law the government's evidence is insufficient 'to establish factual guilt' on

   the charges in the indictment." United States v. Alvarez, 351 F.3d 126, 129 (4th Cir. 2003)

   (quoting Smalis v. Pennsylvania, 476 U.S. 140, 144 (1986)) . "The test for deciding a motion

   for a judgment of acquittal is whether there is substantial evidence (direct or circumstantial)

   which, taken in the light most favorable to the prosecution, would warrant a jury finding that

   the defendant was guilty beyond a reasonable doubt. " United States v. MacCloskey, 682 F.2d

   468, 473 (4th Cir. 1982). "[S]ubstantial evidence is evidence that a reasonable finder of fact

   could accept as adequate and sufficient to support a conclusion of a defendant's guilt beyond

   a reasonable doubt." United States v. Burgos, 94 F.3d 849, 862 (4th Cir. 1996). Accordingly, a

   court must deny a defendant's motion if the evidence presented at trial, viewed in the light

   most favorable to the government, is sufficient for a rational juror to find each element of the

   offense beyond a reasonable doubt. United States v. United Med. & Surgical Supply Corp.,

   989 F.2d 1390, 1402 (4th Cir. 1993) (citing Jackson v. Virginia, 443 U.S. 307, 319 (1979)).

           Under Rule 29, the only question before the court is whether there was sufficient

   evidence to support the jury verdict. See United States v. Chujoy, 207 F. Supp. 3d 626, 659

    (W.D. Va. 2016), affd sub nom. United States v. E dlind, 887 F.3d 166 (4th Cir. 2018), and

    afrd 770 F. App'x 493 (4th Cir. 2019) (quoting 2A Charles A. Wright, Federal Practice and

   Procedure: §466, at 299 (3d ed. 2000); see also United States v. Ellis, 493 F. Supp. 1092, 1098

    (M.D. Tenn. 1979), affd 617 F.2d 604 (fable) (6th Cir. 1980) (fmding that the court's alleged

    error in the jury instructions "could not be, and are not, a cognizable ground for" a Rule 29

    motion). Here, Davis does not argue that there was insufficient evidence for the jury to return


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   a guilty verdict in his Rule 29 motion. Instead, he only argues that the court erred in instructing

   the jury on Pinkerton liability. Because D avis does not argue sufficiency of the evidence, there

   are no grounds on which the court can grant his Rule 29 motion.

           With respect to Davis's arguments relating to the jury instructions, the court finds that

   it did not err in instructing the jury on Pinkerton liability. "The Pinkerton doctrine makes a

   person liable for substantive offenses committed by a co-conspirator when their commission

   is reasonably foreseeable and in furtherance of the conspiracy." United States v. Hare, 820

   F.3d 93, 105 (4th Cir. 2016) (citing United States v. Ashley, 606 F.3d 135, 142-43 (4th Cir.

   2010). Davis makes two arguments: (i) that the Pinkerton instruction is invalid as to Counts

   Eleven and Thirteen in light of the Supreme Court's decision in Rosemond, and (ii) that a

   Pinkerton instruction is inappropriate in a RICO conspiracy case.

           First, while the court recognizes that Rosemond changed the standard of proof for

    aiding and abetting liability, the Fourth Circuit instructs that it did not impact Pinkerton

   liability. See Hare, 820 F.3d at 105. In Hare, the Fourth Circuit affirmed a guilty verdict under

   Pinkerton liability even if the jury instruction on aiding and abetting violated Rosemond. Id.

    In that case, the Fourth Circuit held that because on~ of the defendants admitted to possessing

    a firearm, the guilty verdicts against the other co-conspirators could be sustained under

   Pinkerton, even though it did not meet the higher Rosemond standard. Id. (first citing United

    States v. Saunders, 605 F. App'x 285, 288-89 (5th Cir. 2015) (finding that Rosemond error in

    aiding and abetting instruction did not affect defendant's substantial rights "because the jury

   was given a correct Pinkerton instruction"); and then citing United States v. Young, 561 F.

   App'x 85, 92 (2d Cir. 2014) (explaining that even if there was an error under Rosemond, "it


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   was harmless because ample evidence supported [defendant's] liability under Pinkerton ")).

   Here, the court instructed the jury on Pinkerton liability with respect to the possession and

   use of a firearm in Counts Eleven and Thirteen. 2 Because the jury could have relied on the

   Pinkerton instruction, even if the court erred in making its aiding and abetting instruction

   under Rosemond, any such error would have been harmless. There was sufficient evidence to

   support a finding of guilt as to Counts Eleven and Thirteen under the Pinkerton theory.

   Therefore, the court finds that its instruction on Pinkerton liability did not violate Davis's due

   process rights.

            Second, Davis argues that relying on Pinkerton liability in a RICO conspiracy case

   amounts to a violation of the Double Jeopardy Clause of the Fifth Amendment to the United

   States Constitution. U.S. Const. amend. V. The court disagrees. The Double Jeopardy Clause

   "protects against a second prosecution for the same offense after acquittal. It protects against

   a second prosecution for the same offense after conviction. And it protects against multiple

   punishments for the same offense." United States v. Arnoldt, 947 F.2d 1120, 1124 (4th Cir.

   1991).

            Davis does not argue that he, or any of his co-defendants, had been convicted for any

   of the predicate offenses charged in the First Superseding Indictment. Instead, Davis argues

   that trying him for the predicate offense and RICO in the same trial constitutes trying him for

   the same offense in violation of the Double Jeopardy Clause. The Fourth Circuit has held the

   opposite. In RICO cases, a prior conviction for a predicate act is an exception to the double




   2The court also instructed the jury on Pinkerton as to Count Twelve. However, Davis does not argue that
   Count 12 should be dismissed.

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   jeopardy prohibition. See United States v. McHan, 966 F.2d 134, 140 ·(4th Cir. 1992) (citing

   Jeffers v. United States, 432 U.S. 137, 151 (1977)). In McHan, the Fourth Circuit found that

   "[i]n the circumstances where a person has been convicted of an offense which also constitutes

   an element of a factually larger and multilayered offense, we have held that the offenses are

   not the same and thereby prohibited by the Double Jeopardy Clause." 966 F.2d at 140; see

   also Arnoldt, 947 F.2d at 1127 (holding that a RICO prosecution is not barred by earlier

   convictions on some of the predicate acts). It follows that this exception applies to charges

   for predicate acts and RICO brought during the same trial. See United States v. West, 877

   F.2d 281, 292 (4th Cir. 1989) (affirming consecutive sentences for RICO and RICO conspiracy

   convictions); see also United States v. Padgett, 78 F.3d 580 (Table), 1996 WL 88057, at *5 (4th

   Cir. Mar. 1, 1996) ("The prosecution and sentencing of a defendant to both RICO conspiracy

   and the predicate offenses does not violate double jeopardy."). Because Davis was charged

   and convicted at the same trial for both the predicate acts and the underlying RICO

   conspiracy, there is no violation of the Double Jeopardy Clause.

                                                   III.

           Davis also moves for a new trial pursuant to Federal Rule of Criminal Procedure 33.

   Rule 33 provides that "[u]pon the defendant's motion, the court may vacate any judgment and

   grant a new trial if the interest of justice so requires." Fed. R. Crim. P. 33. The district court

   "should exercise its discretion to grant a new trial sparingly, and it should do so only when the

   evidence weighs heavily against the verdict." United States v. Chong Lam, 677 F. 3d 190, 203

    (4th Cir. 2012) (internal citations and alterations omitted).




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           Because the court finds that it did not err in instructing the jury on Pinkerton liability

   and Davis does not argue the sufficiency of the evidence, the court will deny Davis's motion

   for a new trial. See United States v. Perry, 335 F.3d 316, 323 (4th Cir. 2003) ("Because we are

   unable to discern any incorrect statement of law in the uury] instructions, the court did not

   abuse its discretion in declining to award a new trial on this basis.").3

                                                          IV.

           For the reasons stated herein, the court DENIES D avis's motion for judgment of

   acquittal or in the alternative for a new tria1. 4 An appropriate Order will be entered.

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                                                                Michael F. Urbanski
                                                                Chief United States District Judge


   3 Davis contends that Pinkerton should be overruled because it impermissibly created a common law theory of
   culpability and that it violates due process under Apprendi v. ew Jersey, 530 U.S. 466 (2000). First, Apprendi
   applies only to facts that constitute "elements" of a criminal conviction, Alleyne v. United States, 570 U.S. 99,
   108 (2013), and a possible theory on which the jury may base liability is not such an element. United States v.
   Bozarth, 736 F. App'x 161, 162 (9th Cir. 2018). Accordingly, the court finds no conflict between Apprendi and
   Pinkerton. Second, 21 U.S.C. § 846 "is a conspiracy statute modeled under the framework of' Pinkerton. See
   Crowder v. United States, No. 4:17-cr-37, 2019 WL 943390, at *2 (E.D. Va. Feb. 26, 2019). Finally, as Davis's
   brief acknowledges, "the Fourth Circuit is wedded to Pinkerton liability in general." De f.'s Br. Supp. Mot., ECF
   No. 1165, at 8 (citing Hare, 820 F.3d at 105). Indeed, the Fourth Circuit and the Supreme Court have
   consistently affirmed the use of Pinkerton liability, and the court finds no reason to deviate from that precedent.
   See e.g., United States v. Franklin, 709 F. App'x 202, 203 (4th Cir. 2018) (per curiam) (recognizing Pinkerton
   liability); United States v. Thomas, 691 F. App'x 760, 761 (4th Cir. 2017) (per curiam) (same); Smith v. United
   States, 568 U.S. 106, 111 (2013) (noting that defendant " becomes responsible for the acts of his co-conspirators
   in pursuit of their common plot.").
   4 While the court need not address the sufficiency of the evidence because Davis failed to raise it in his motion,

   the court notes that in a light most favorable to the prosecution, there was sufficient evidence presented during
   the fifteen-day trial that supports the jury's verdict. The evidence presented at trial was of Davis's involvement
   with and furtherance of the conspiracy, including evidence of the use of a firearm during the underlying
   predicate acts for Counts E leven and Thirteen. The evidence presented included testimony from witnesses, law
   enforcement, and co-conspirators, evidence of Facebook messages between co-conspirators related to the
   underlying criminal conduct, photographs and videos of co-conspirators engaged in relevant conduct, and other
   relevant evidence. Accordingly, even if Davis's Rule 29 and Rule 33 motion properly made a sufficiency of the
   evidence argument, the court would have denied the motion.


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